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                       UNITED STATES BANKRUPTCY COURT

                           FOR THE DISTRICT OF OREGON


In re

ROCK POND ACRES, LLC                                    Case No. 20-30574-pcm11

        Debtor-in-Possession.                           RESPONSE TO TRUSTEE’S
                                                        MOTION TO DISMISS

________________________________________


        Debtor in Possession submits the following response to the US Trustee’s Motion

to Dismiss:

        The US Trustee’s Motion should be denied because Debtor is not involved in any

illegal business. Debtor is a single asset real estate entity and leases its land to

several tenants. Two of those tenants hold licenses to produce marijuana under the

authority of the Oregon Liquor Control Commission. This does not constitute gross

mismanagement.

                                     JURISDICTION




1 Debtor’s Response to Trustee’s Motion to Dismiss

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      Debtor acknowledges that 11 USC 307 and 1112(b) give this Court jurisdiction to

hear and decide the US Trustee’s Motion.

                                         FACTS

      Debtor leases its agricultural land to various users two of whom are licensed and

regulated by the State of Oregon to produce marijuana. Debtor has used rents to pay

interest as adequate protection to secured creditors. Debtor does not dispute the facts

alleged by the per se rule US Trustee. Those facts, however, do not support the

assertion that Debtor is mismanaging or harming the assets of the estate. Debtor’s

proposed a plan of reorganization is to obtain a new loan to refinance the existing debt

on the property and thereby pay all creditors in full. The plan will be consummated on

the closing of the new loan. Debtor has proposed this plan in good faith and not by any

means forbidden by law.

                           TRUSTEE’S LEGAL ARGUMENT

      The US Trustee argues that production of marijuana is illegal under federal law

and therefore Debtor’s lease of land to marijuana producers is per se gross

mismanagement. The US Trustee relies on cases from Colorado and the 10 th Circuit.

                            DEBTOR’S LEGAL ARGUMENT

      Debtor’s proposed plan “provides for creditors’ repayment and debtors’ ongoing

operations so it is consistent with the objectives and purpose of the Bankruptcy Code.”

Garvin v. Cook, 922 F3d 1031, 1036 (9th Cir. 2019). Debtor is proceeding with actions

to preserve the estate for the benefit of all interested parties. The two marijuana leases

are not damaging or endangering property of the estate.




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       1.     Oregon Law.

       Under Oregon law leasing land to a licensed marijuana producer is not a crime

and is expressly authorized by state statute and local rules. ORS Chapter 475B and

OAR Chapter 845, Division 25 define Oregon’s regulation of cannabis. The United

States Department of Justice (“DOJ”) relies on the states that allow marijuana

production and use to construct their laws and enforcement procedures to address very

specific federal concerns as set out in a memorandum dated August 29, 2013, (“Cole

memo”) which is attached as Exhibit 1.

       The US Attorney for Oregon, Billy Williams in response to updated direction from

DOJ, on January 4, 2018, added this to his office’s official website:

             "As noted by Attorney General Sessions, today’s memo on marijuana
       enforcement directs all U.S. Attorneys to use the reasoned exercise of discretion
       when pursuing prosecutions related to marijuana crimes. We will continue
       working with our federal, state, local and tribal law enforcement partners to
       pursue shared public safety objectives, with an emphasis on stemming the
       overproduction of marijuana and the diversion of marijuana out of state,
       dismantling criminal organizations and thwarting violent crime in our
       communities."

The DOJ continues to focus its enforcement efforts on assuring that state and local laws

specifically address the federal concerns. The DOJ has focused its prosecutorial

attention on situations that put the listed concerns at risk. The DOJ has accepted the

robust enforcement by the State of Oregon and continues its dialogue with the state and

local entities responsible for enacting and enforcing the local laws. Oregon’s regulatory

system is consistent with and promotes DOJ’s enforcement priorities.

       Rock Pond is not involved in operating the subject businesses. Nor is the Debtor

engaged in supervising, testing, monitoring, or in any way involving itself in the

operations. The OLCC is responsible for enforcement and compliance. The OLCC



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would notify Rock Pond of a license change. The leases provide that on a finding by

the OLCC that the tenant/licensee has violated any of the applicable statutes or

regulations, the lease would terminate.

       2.      Plan Confirmation

       In the 9th Circuit rental income derived from a tenant who produces marijuana

can be used to meet plan obligations. Garvin v. Cook, supra. The decision in the Cook

case is based on 11 USC 1129(a)(3) which requires that debtor propose a plan in good

faith. The 9th Circuit was not considering a motion to dismiss but the lower court had

denied a motion to dismiss pending consideration of the plan of reorganization. Under

the Garvin analysis a plan proposed in good faith can meet the requirements of 1129

even if rent received is derived from an illegal source.

       If Debtor is unable to consummate a plan of reorganization or pay its creditors in

full the likely outcome would be foreclosure by AMR Investment Group, Inc. AMR or its

successor would then collect the rents. We know that pre petition AMR was prepared to

sell the property through a trustee’s sale and that Michael Vandeweile intended to

purchase the property at the sale. The interests of the Debtor would be foreclosed.

Neither Debtor or any of the other creditors would recover anything. Appointment of a

federal trustee is not likely in this case.

       3.      US Trustee

       The US Trustee has put itself in the awkward position of urging dismissal which

will harm creditors when its principal role is to protect all creditors and interested parties

in a bankruptcy case.




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       The mission of the United States Trustee Program is to promote the
       integrity and efficiency of the bankruptcy system for the benefit of all
       stakeholders – debtors, creditors, and the public.

The position is even more awkward because pursuant to the Consolidated

Appropriations Act, 2016, Pub. L. No. 114-113, § 542, 129 Stat. 2242, 2332–33 (2015),

Congress has specifically directed enforcement agencies of the federal government not

to interfere with the lawful activity in states that have legalized marijuana by the

following:

       None of the funds made available in this Act to the Department of Justice may be
       used, with respect to the States of Alabama, Alaska, Arizona, California,
       Colorado, Connecticut, Delaware, District of Columbia, Florida, Hawaii, Illinois,
       Iowa, Kentucky, Maine, Maryland, Massachusetts, Michigan, Minnesota,
       Mississippi, Missouri, Montana, Nevada, New Jersey, New Hampshire, New
       Mexico, Oregon, Rhode Island, South Carolina, Tennessee, Utah, Vermont,
       Washington, and Wisconsin, to prevent such States from implementing their
       own State laws that authorize the use, distribution, possession, or cultivation
       of medical marijuana.
This provision has been renewed by Congress. In Oregon substantially all regulation of

marijuana, medical and recreational, is administered through the OLCC. The Court in

US v. McIntosh, 833 F3d 1163 (9th Cir. 2016) ruled that DOJ could not prosecute

defendants for marijuana crimes if the defendants were complying with state law and

noted that the appropriations rider applied to the evolving law. There is no evidence in

that Rock Pond’s tenants have failed to comply with Oregon law. The US Trustee

should not be worrying about Rock Pond’s leases without more.

       4.     Gross Mismanagement

       If the purpose of bankruptcy law is to protect the estate and the interests of all

parties, then mismanagement of the estate would imply loss in value or inequitable




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treatment of parties. Neither loss nor inequitable treatment is occurring nor is it likely to

under the Debtor’s plan.

       What we have is an Oregon landowner leasing land to a legal Oregon business.

The US Trustee wants the court to rule that the leases per se constitute an abuse of

bankruptcy law.

       11 USC 1112(b)(4)(B) authorizes dismissal of a case for gross mismanagement.

Gross mismanagement is not further defined. The case law does not offer a clear,

objective standard. It would be absurd to find management guilty of gross

mismanagement just because debtor is in financial difficulty. The purpose of

bankruptcy law is to recover from financial difficulty so that makes no sense.

       A debtor in possession has a fiduciary duty to protect, conserve, and preserve

the estate. If management creates a substantial adverse risk which would impair the

ability to pay creditors, arguably that would constitute mismanagement. It would have to

be more than mere negligence; it would have to be intentional.

       The case law bears this out. In In re 10 Bears at Chiloquin, Inc., 2007 Bankr.

LEXIS 1997 (Bankr. D. Or. June 6, 2007) the court found gross mismanagement where

debtor made improper loans to insiders who did not appear to have the means to repay

the loans, failed to file tax returns and account for compensation paid, failed to disclose

unpaid loans, and fraudulently transferred assets. The court in In re Hoyle, No. 10-

01484-TLM, 2013 Bankr. LEXIS 420 (U.S. Bankr. D. Idaho Jan. 17, 2013 found gross

mismanagement in debtor’s failure to keep clear accounting records post-petition and

transferring post-petition income without authority.




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       The US Trustee suggests that allowing the case to go forward could require the

debtor or the US Trustee to do illegal acts. Neither the Debtor or any subsequent

receiver or trustee of Debtor’s business would be asked to operate under the OLCC

license. In two cases cited by the US Trustee the courts have declined to require the

US Trustee or another bankruptcy trustee to administer marijuana assets or to be put at

risk of enforcement actions from its own DOJ. In re Arenas, 514 B.R. 887 (Bankr. D.

Colo. 2014); In re Medpoint Management, LLC, 528 B.R. 178 (Bankr. D. Ariz. 2015).

That is not an issue in this case. The license does not belong to the Debtor but to the

Debtor’s tenant. Nor is there any likelihood of the US Trustee being asked to collect

rents on behalf of the Debtor. Therefore, the risk of the US Trustee or any trustee being

involved with collecting rents from a marijuana producer are slim.

       The US Trustee argues that the property of the estate may be subject to

forfeiture or seizure because of the tenant’s use of the property. The US Trustee relies

on In re Rent-Rite Super Kegs West Ltd., 484 B.R. 799 (Bankr. D. Colo. 2012) which

allowed dismissal of a Chapter 11 case. The case was decided in 2012 before

Congress prohibited enforcement actions against activities legal under state law in

2015. The law is indeed murky. Given the facts and the murkiness of the law in this

area, neither forfeiture or seizure is likely.

       Rock Pond holds significant equity in its real property. 11 USC 1112(b)(2) does

not require the Court to convert or dismiss a case if unusual circumstances exist

weighing against such action, and (A) there is a reasonable likelihood that a plan will be

confirmed within a reasonable time period and (B) there is reasonable justification for

the act or omission that provides cause for dismissal which will be cured within a




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reasonable period of time. In this case dismissal would harm the Debtor and creditors.

Debtor has in good faith proposed a plan and a plan could be confirmed within a

reasonable period of time. The confirmation itself would cure the US Trustee’s

objection that the Debtor in the context of a Chapter 11 is collecting rent money from a

tenant who would be found violating federal law but for current Oregon law, US Attorney

guidance, and Congressional prohibitions on enforcement actions.

       The US Trustee reminds the Court that this proceeding is in equity and should

not “lend its judicial power to a plaintiff who seeks to invoke that power for the purpose

of consummating a transaction in clear violation of law.” Debtor submits that it is not

clear Debtor has violated a law.

                                      CONCLUSION

       There is no evidence of gross mismanagement. Debtor asks the court to deny

the US Trustee’s Motion to Dismiss this case.



DATED: June 12, 2020                             /s/ Sally Leisure_____________
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                               CERTIFICATE OF SERVICE

      I certify that on June 12, 2020, I filed this Response and it was served on parties
through ECF. In addition I certify that on June 12, 2020, I emailed a copy of this
Response to the following:

Christian Torimino, Office of the US Trustee

Phyllis Brinkley, Managing Member of Debtor

I further certify that on June 12, 2020, I mailed, by first class mail, copies to each of the
following:

Portland General Electric
7895 SW Mohawk St.
Tualatin, OR 97062

Clackamas County Tax Assessor
2051 Kaen Rd
Oregon City, OR 97045

Oregon Department of Revenue Bankruptcy
955 Center St. NE
Salem, OR 97301-2555



                                                  /s/ Sally Leisure
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